
EX PARTE DARRICK MARCIANO KIZZEE






NO. 07-02-0369-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL C

SEPTEMBER 30, 2002

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EX PARTE DARRICK MARCIANO KIZZEE





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Before QUINN and REAVIS and JOHNSON, JJ.

DISMISSAL

Proceeding pro se, Darrick Marciano Kizzee filed a notice of appeal from the Texas Court of Criminal Appeals’s dismissal of his application for writ of habeas corpus. &nbsp;By letter dated September 13, 2002, this Court requested that Kizzee show why this Court has jurisdiction to entertain his purported appeal. &nbsp;Kizzee responded by filing a document entitled “Court’s Jurisdiction.” &nbsp;Although he cites several legal authorities, Kizzee does not reference any authority establishing that this Court has jurisdiction to hear an appeal of the dismissal by the higher court. &nbsp;

Accordingly, we dismiss this purported appeal for want of jurisdiction.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



Do not publish.



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